        Case 1:21-cr-00175-TJK Document 285-6 Filed 02/07/22 Page 1 of 3




                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia

                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530




                                                       December 23, 2021

Via Email and Electronic File Transfer


 Lisa Costner                                      Carmen D. Hernandez
 Ira Knight                                        7166 Mink Hollow Road
 Federal Public Defender MDNC                      Highland, MD 20777
 251 N. Main St. Suite 849
 Winston-Salem NC 27101

 J. Daniel Hull                                    Nicholas Smith
 Hull McGuire PC                                   7 East 20th Street
 888 Seventeenth Street, NW                        Suite 4R
 Suite 1200                                        New York, NY 10003
 Washington, DC 20006

                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

        I write to memorialize another production related to the above-captioned case as part of the
government’s efforts to produce preliminary discovery on an ongoing basis. Today the
government produced a fourth round of materials from Mr. Biggs’s case file maintained by the
Federal Bureau of Investigation (FBI). An index is enclosed. All of these materials are designated
Sensitive except as to defendant Biggs. Please note that the file names bear the titles as assigned
by the FBI’s electronic systems.

        The materials described herein have been made available for download in the Cross
Discovery folder on USAfx. Please keep in mind that all of the items placed in the USAfx case-
folder will be deleted automatically – some in as few as 60 days. Please let me know immediately
if you have been unable to access and download the materials for your use in this case.
        Case 1:21-cr-00175-TJK Document 285-6 Filed 02/07/22 Page 2 of 3




       To assist our future productions of discovery, we would again request that you return
external hard drives that we have supplied, once you have had an opportunity to copy the materials.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

                                                     Sincerely yours,

                                                     MATTHEW M. GRAVES
                                                     UNITED STATES ATTORNEY

                                             By:            /s/
                                                     Luke M. Jones
                                                     Assistant United States Attorney
                                                     555 4th Street, N.W.
                                                     Washington, D.C. 20530
                                                     (202) 252-7066
                                                     Luke.jones@usdoj.gov

Encl.: Biggs_Production Index 12.23.2021.pdf




                                                2
        Case 1:21-cr-00175-TJK Document 285-6 Filed 02/07/22 Page 3 of 3




                  Index of Production of Biggs Files on December 23, 2021

Files Designated Sensitive as to All Defendants (except Biggs)

     Serial                                         File Name
    Number
      160         266O-JK-3374931_0000160.pdf
      161         266O-JK-3374931_0000161.pdf
      162         266O-JK-3374931_0000162.pdf
      162         266O-JK-3374931_0000162_1A0000024_0000001.pdf
      165         266O-JK-3374931_0000165.pdf
      165         266O-JK-3374931_0000165_1A0000025_0000001.docx
      166         266O-JK-3374931_0000166.pdf
      167         266O-JK-3374931_0000167.pdf
      167         266O-JK-3374931_0000167_1A0000026_0000001.docx
      167         266O-JK-3374931_0000167_1A0000026_0000002.docx
      167         266O-JK-3374931_0000167_1A0000026_0000004.docx
      168         266O-JK-3374931_0000168.pdf
      168         266O-JK-3374931_0000168_1A0000027_0000001.html
      168         266O-JK-3374931_0000168_1A0000027_0000002.html
      168         266O-JK-3374931_0000168_1A0000027_0000003.html
      169         266O-JK-3374931_0000169.pdf
      170         266O-JK-3374931_0000170_1A0000119_0000002.PNG
      170         266O-JK-3374931_0000170_1A0000120_0000001.jpg
      171         266O-JK-3374931_0000171.pdf
      172         266O-JK-3374931_0000172.pdf
      172         266O-JK-3374931_0000172_1A0000028_0000001.html
      172         266O-JK-3374931_0000172_1A0000028_0000002.html
      172         266O-JK-3374931_0000172_1A0000028_0000003.html
      172         266O-JK-3374931_0000172_1A0000028_0000004.HTML
      172         266O-JK-3374931_0000172_1A0000028_0000005.html
      172         266O-JK-3374931_0000172_1A0000028_0000006.html

The below file is also included in this production and is designated Sensitive as to All
Defendants except Biggs. Please refer to Serial 172 for further information regarding the
contents of this file.

266O-JK-3374931_1B44 Scoped Results (1B2 1B5 1B18 1B22 1B24 1B40).zip
